 Pro Se 15 (Rev. 12/16) Comp1aint for Violation of Civil Rights (Non-Prisoner)



                                         UNITED STATES DISTRICT COURT
                                                                             for the
                                                                          District of Jet\ ne~s-ee,

                                                                (J\c,\ftc.tnoo?' Division


                                                                                 )     Case No.       r 14--rn c- lf Ttlrv1 ISte
Dcxu·, d M, c\-w. ~ \l.:r<'\,:\                                                  )
                                                                                 )
                                                                                                      (to bejil/ed in by the Clerk's Office,,

                               Plaintiff(~)
(Write the jic/1 name of each plaintiff who is filing this complaint.
                                                                                 )
{/the names of all the plaint([{<; cannot fit in the space above,                )     Jury Trial: (check one) 0Yes           0No
please write "see attached" in the space and attach an additional                )
page with thefi1ll list of names.)                                               )
                                  -v-                                            )
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           S¾eNe.Y'\      ~~\..er~                                               )
              Co.s"'J Cov:<:lavc:->...                                           )
                              Defendant(s)                                       )
(Write thejit!I name of each defendant who is being sued. ff the                 )
names ofall the defendants cannotfit in the space above, please                  )
write "see attached" in the space and attach an additional page
with t/ze.fi1/l list o(names. Do not include addresses here.)



                                 COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
                                           (Non-Prisoner Complaint)


                                                                         NOTICE

   Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
   electronic court files. Under this rule, papers filed with the court should not contain: an individual's full social
 -·security number or full birth date; the full name of a person known to be a minor; or a complete financial account
   number. A filing may include only: the last four digits of a social security number; the year of an individual's
   birth; a minor's initials; and the last four digits of a financial account number.

   Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
   other materials to the Clerk's Office with this complaint.

  In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
  forma pauperis.




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I.        The Parties to This Complaint

          A.         The Plaintiff(s)

                     Provide the infonnation below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                           Name                                         D0iv-,d ~,c>."'o..e\ K\"J
                           Address                                       I\'d,    "101--\hC..f'~\'C.. .Dt.     .BtJf"~rJ    la .....~ "J"'c. ".)
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                                                                                      City                     State                 Zip Code
                          County
                          Telephone Number
                          E-Mail Address

         B.         The Defendant(s)

                    Provide the information below for each defendant named in the complaint, whether the defendant is an
                    individual, a government agency, an organization, or a corporation. For an individual defendant,
                    include the person's job or title (if known) and check whether you are bringing this complaint against
                    them in their individual capacity or official capacity, or both. Attach additional pages if needed.

                    Defendant No. 1
                          Name
                          Job or Title (if known)
                         Address
                                                                                                             ,AJ           _31 C?9.L ________
                                                                                                              State                 Zip Code
                         County
                         Telephone Number
                         E-Mail Address (!f known)

                                                                      [a Individual capacity IZ] Official capacity
                   Defendant No. 2
                         Name                                          C.o..se:
                                                                         0
                                                                                     -~~-~~                            _
                         Job or Title (if known)                     .$ew0lt          Aoe,"")-       n-H-- ::s-~d-<- ~"'\ _J)Tf' __
                         Address                                      _J~8        /lltJr~v-e.~"-- J)r~
                                                                          5"1db~y1lk                         'JV__           37l'°
                                                                                    City                      State                Zip Code
                        County
                        Telephone Number
                        E-Mail Address (if known)

                                                                     IZI Individual capacity ·-llJ Official capacity

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                       Defendant No. 3
                            Name
                            Job or Title (1fknown}
                            Address

                                                                                  Ci(v                 State           Zip Code
                            County
                            Telephone Number
                            E-Mail Address (if known)

                                                                        D Individual capacity D Official capacity
                     Defendant No. 4
                           Name
                           Job or Title (if known)
                           Address

                                                                                 City                 State            Zip Code
                           County
                           Telephone Number
                           E-Mail Address (if known)

                                                                       D Individual capacity D Official capacity
II.      Basis for Jurisdiction

         Under 42 U.S.C. § 1983, you may sue state or local officials for the "deprivation of any rights, privileges, or
         i1mnunities secured by the Constitution and [federal laws)." Under Bivens v. Six Unknown Named Agents of
         Federal Bureau of Narcotics, 403 US. 388 (1971), you may sue federal officials for the violation of certain
         constitutional rights.

         A.         Are you bringing suit against (check all that apply):

                   D      Federal officials (a Bivens claim)

                   IZJ State or local officials (a§ 1983 claim)
         B.        Section 1983 allows claims alleging the "deprivation of any rights, privileges, or immunities secured by
                   the Constitution and [federal laws]." 42 U.S.C. § 1983. If you are suing under section 1983, what
                   federal constitutional or statutory right(s) do you claim is/are being violated by state or local officials?




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        C.         Plaintiffs suing under Bivens may only recover for the violation of certain constitutional rights. If you
                   are suing under Bivens, what constitutional right(s) do you claim is/are being violated by federal
                   officials?

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             D.       Section 1983 allows defendants to be found liable only when they have acted "under color of any
                      statute, ordinance, regulation, custom, or usage, of any State or TeITitory or the District of Columbia."
                      42 U.S.C. § 1983. If you are suing under section 1983, explain how each defendant acted under color
                      of state or local law. If you are suing under Bivens, explain how each defendant acted under color of
                      federal law. Attach additional pages if needed.

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III.     Statement of Claim, ~°'"' l.!lN-- O"'N.,.,~'- ~ CA,,.\\,w l-6t'hm, & ~ o....M s<t\- <'1\'1 ~\ \ 0-.~ :A~.

         State as briefly as possible the facts of your case. Describe how each defendant was personally involved in the
         alleged wrongful action, along with the dates and locations of all relevant events. You may wish to include
         further details such as the names of other persons involved in the events giving rise to your claims. Do not cite
         any cases or statutes. If more than one claim is asserted, number each claim and write a short and plain
         statement of each claim in a separate paragraph. Attach additional pages if needed.

         A.          Where did the events giving rise to your claim(s) occur?
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                     't-t..\t,.~J      ~
                                             ~ - <u.S!?:..            -- .·- - .         - ·- ··- - ..

        B.          What date and approximate time did the events giving rise to your claim(s) occur?




        C.          What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                    Was anyone else involved? Who else saw what happened?)


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 IV.      Injuries

          If you sustained injuries related to the events alleged above, describe your injuries and state what medical
          treatment, if any, you required and did or did not receive. \>)°\~~,(.a_\
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V.      Relief




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VI.      Certification and Closing

        Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, info1111ation,
        and belief that this complaint: ( 1) is not being presented for an improper purpose, such as to harass, cause
        unnecessary delay, or needlessly increase the cost oflitigation; (2) is supported by existing law or by a
        nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
        evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
        opp01tunity for further investigation or discovery; and (4) the complaint otherwise complies with the
        requirements of Rule 11.



        A.           For Parties Without an Attorney

                    I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
                    served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                    in the dismissal of my case.

                    Date of signing:


                    Signature of Plaintiff
                    Printed Name of Plaintiff

       B.           For Attorneys

                    Date of signing:


                   Signahire of Attorney
                   Printed Name of Attorney
                   Bar Number
                   Name of Law Firm
                   Address


                                                                                 City     State          Zip Code

                   Telephone Number
                   E-mail Address




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